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Falk, Michael C.

From:                           Brett Freeman <brett@bankruptcypa.com>
Sent:                           Monday, May 02, 2016 3:48 PM
To:                             Falk, Michael C.
Subject:                        FW: Krieger v. BOA
Attachments:                    Krieger v BOA Demand.pdf

FilingDate:                     5/5/2016 4:05:00 PM



Michael,

Thanks for your time on the phone. Please see the attached, which was communicated to George on 4/14.

Brett Freeman
Sabatini Law Firm, LLC
216 N. Blakely St.
Dunmore, PA 18512
(570) 341-9000
Brett@SabatiniLawFirm.com

From: Brett Freeman
Sent: Thursday, April 14, 2016 3:35 PM
To: 'george.driver@bankofamerica.com'
Cc: Leonard Gryskewicz, Jr.
Subject: Krieger v. BOA

George,

Thanks for your time today on the phone. Please allow this email to confirm that Bank of America has agreed to
let Plaintiff file an amended complaint. The amendment will simply add the attachments which are referred to in
the complaint, and which appear to have inadvertently not been filed. Please also allow this email to confirm
that the parties have agreed that today, April 14, 2016, will be the date of service of the complaint. Finally,
please see the attached settlement offer. I look forward to hearing from you.

Thanks,

Brett Freeman
Sabatini Law Firm, LLC
216 N. Blakely St.
Dunmore, PA 18512
(570) 341-9000
Brett@SabatiniLawFirm.com




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